Dear Mr. Barousse:
In your letter of September 4, 1980, you  requested an opinion regarding residency requirements for aldermen.  Specifically, you asked if a vacancy is created when an alderman moves from the ward in which he was elected.
The qualifications for aldermen are set forth in R.S. 33:383. That statute provides in part:
  `The qualifications of the aldermen shall be the same as are prescribed for the mayor, and in addition, those elected from wards must be residents of their respective wards.'  (Emphasis supplied)
Attorney General's Opinion No. 77-1113 considered a similar situation.  The opinion cited Williamson v. Village of Baskin, 339 So.2d 474 (2nd Cir. 1976), and concluded, '. . . we are of the opinion that an alderman's position does not become vacant merely because the official moves outside the municipality.
In such case, however, the town council may declare the position vacant'.  The vacancy is not created until it is officially declared by the appropriate authority.
Pursuant to R.S. 18:602, when a vacancy occurs in a local or municipal office, the local governing authority must appoint a person to fill the vacancy.  The appointee must meet the qualifications of the office.  In the case of an alderman, he must be a qualified elector of the town and a resident of the parish for two years; an alderman must also be a resident of the ward from which he is elected.
When a vacancy is declared and an appointee is named for the office of alderman, the local governing authority must, within ten days, issue a proclamation calling for a special election, if the unexpired term exceeds one year.  However, if the unexpired term for the office is one year or less, the appointee designated to assume the duties of the office will serve for the remainder of the unexpired term.  When a special election is necessary, the election date must conform to the provisions of R.S. 19:402.
In conclusion, when an alderman moves from the ward in which he was elected, the local governing authority may declare the office vacant.  If the unexpired term exceeds one year, a special election must be held; otherwise the person appointed to assume the office will serve the remainder of the term.
Sincerely,
                           William J. Guste, Jr. Attorney General
                      By:  Kenneth C. DeJean Assistant Attorney General